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 9  FAX:  212-216-9559
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10
    Attorneys for Defendant SCHOOLADVISOR,LLC DBA DEGREESEARCH.ORG
11

12

13                                      UNITED STATES DISTRICT COURT
14                                    EASTERN DISTRICT OF CALIFORNIA
15

16       EDWARDO MUNOZ,Individually and on                   Case No.: 1:20-CV-00440-NONE-EPG
         behalf of all others similarly situated,
17                                                           DEFENDANT SCHOOL ADVISOR,LLC'S
                 Plaintiff,                                  ANSWER TO PLAINTIFF'S COMPLAINT
18
         v.                                                  DEMAND FOR JURY TRIAL
19
         SCHOOLADVISOR,LLC d/b/a
20       DEGREESEARCH.ORG,aDelaware limited
         liability company,
21
                Defendant.
22

23
               Defendant School Advisor, LLC, d/b/a DegreeSearch.org, aDelaware limited liability company
24 I
        ("School Advisor" or "Defendant'), by and through.its counsel, hereby Answers the Complaint(the
25 I~
        "Complaint") and states as follows:
26
               L       As to Paragraph 1, this paragraph contains statements of purported law or legal
27
        conclusions for which no response is required. To the extent a response is required, Defendant
28

                                                         -1-
                          DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
       Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 2 of 13

 1
      specifically denies that there has been a violation ofthe Telephone Consumer Protection Act
 2
     ("TCPA").
 3
             2.      As to Paragraph 2, Defendant lacks knowledge or information sufficient to form a belief
 4
     about the truth of the allegations contained in Paragraph 2 ofthe Complaint, and on that basis denies
 5
     the same.
 6
             3.      As to Paragraph 3, Defendant admits that it is organized under the laws ofthe State of
 7
     Delaware and has a principal place of business located 4800 140tt
                                                                    'Avenue N,Suite 101, Clearwater,
 8
     Florida 33762, and denies the remaining allegations in Paragraph 3 ofthe Complaint.
 9
             4.     As to Paragraph 4, this. paragraph contains statements of purported law or legal
10
     conclusions for which no response is required. To the extent a response is required, Defendant denies
11
     that this action can be appropriately maintained as a class action and specifically denies that there has
12
     been any violation ofthe TCPA.
13
             5.     As to Paragraph 5, this paragraph contains statements of purported law or legal
14
     conclusions for which no response is required. To the extent a response is required, Defendant denies
15
     the allegations the same.
16
            6.      As to Paragraph 6, this paragraph contains statements of purported law or legal
17
     conclusions for which no response is required. To the extent a response is required, Defendant denies
18
     the allegations the same.
19
            7.      As to Paragraph 7, Defendant admits the allegations contained in Paragraph 7 ofthe
20
     Complaint.
21
            8.      As to Paragraph 8, this paragraph contains statements of purported law or legal
22
     conclusions for which no response is required, and further fails to define the term "bulk text
23
     messaging." To the extent a response is required, Defendant denies the same.
24
            9.      As to Paragraph 9, Defendant denies the allegations contained in Paragraph 9 ofthe
25
     Complaint.
26
            10.     As to Paragraph 10, Defendant lacks knowledge or information sufficient to form a
27
     belief about the truth of the allegations contained in Paragraph 10 ofthe Complaint,
28

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                      DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
            Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 3 of 13
  1
                  11.     As to Paragraph 11, Defendant lacks knowledge or information sufficient to form a
 2
           belief about the truth ofthe allegations contained in Paragraph 11 of the Complaint.
 3
                  12.    As to Paragraph 12, Defendant denies the allegations contained in Paragraph 12 of the
 4
           Complaiirt.
 5
                  13.    As to Paragraph 13, Defendant denies the allegations contained in Paragraph 13 ofthe
 6
           Complaint.
 7
                  14.    As to Paragraph 14, Defendant denies the allegations contained in Paragraph 14 ofthe
 8
           Complaint.
 9
                  15.    As to Paragraph 15, Defendant denies the allegations contained in Paragraph 15 ofthe
10
          Complaint.
11
                  16.    As to Paragraph 16, Defendant denies the allegations contained in Paragraph 16 of the
12
          Complaint.
13
                  17.    As to Paragraph 17, Defendant lacks knowledge or information sufficient to form a
14
          belief about the truth of the allegations contained in Paragraph 17 ofthe Complaint.
15
                  18.    As to Paragraph 18, Defendant denies the allegations contained in Paragraph 18 ofthe
16
          ,Complaint.
17
                  19.    As to Paragraph 19, Defendant denies the allegations contained in Paragraph 19 of the.
18
          Complaint.
19
                 20.     As to Paragraph 20, Defendant denies the allegations contained in Paragraph 20 ofthe
20
          Complaint.
21
                 21.     As to Paragraph 21, Defendant denies the allegations contained in Paragraph 21 of the
22
          Complaint.
23
      l          22.     As to Paragraph 22, Defendant lacks knowledge or information sufficient to form a
24
          belief about the truth of the allegations contained in Paragraph 22 ofthe Complaint.
25
                 23.     As to Paragraph 23, Defendant denies the allegations contained in Paragraph 23 ofthe
26
          Complaint.
27 ~

28

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                           DEFENDANT SCHOOL ADVISOR, LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
         Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 4 of 13

  1
                24.      As to Paragraph 24, Defendant denies the allegations contained in Paragraph 24 ofthe
  2
         Complaint.
  3
                25.      As to Paragraph 25, Defendant denies the allegations contained in Paragraph 25 ofthe
  4
        Complaint.
  5
                26.      As to Paragraph 26, Defendant denies the allegations contained in Paragraph 26 ofthe
  6'
        Complaint.
  7
                27.      As to Paragraph 27, Defendant denies the allegations contained in Paragraph 27 of the
  8
        Complaint.
 9
                28.      As to Paragraph 28, Defendant denies the allegations contained in Paragraph 28 ofthe
10
        Complaint.
11
                29.      As to Paragraph 29, Defendant denies that this action can be appropriately maintained
12
        as a class action and specifically denies that there has been any violation ofthe TCPA.
13
                30.      As to Paragraph 30, this paragraph contains statements of purported law or legal
14
        conclusions for which no response is required. To the extent a response is required, Defendant denies
15
        the same.
16
               31.       As to Paragraph 31, Defendant admits only so much of Paragraph 31 ofthe Complaint
17
        as alleges that Plaintiff purports to assert claims on behalf of a putative class or persons. Defendant
18
        denies that such a class action is proper pursuant to Federal Rules of Civil Procedure 23(a) and
19
        23(b)(2) and (3}, and specifically objects to the proposed class definition.
20
               32.       As to Paragraph 32, this paragraph contains statements of purported law ar legal
21
        conclusions for which no response is required. To the extent a response is required, Defendant denies
22 '~
        the allegations the same.
23
               33.     As to Paragraph 33, Defendant denies the allegations contained within Paragraph 33 of
24
        the Complaint.
25
               34.     As to Paragraph 34, Defendant denies the allegations contained within Paragraph 34 of
26
        the Complaint.
27

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                           DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
            Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 5 of 13
  1
                   35.        As to Paragraph 35, Defendant denies the allegations contained within Paragraph 35 of
 2
           the Complaint.
 3
                   36.        As to Paragraph 36, Defendant denies the allegations contained within Paragraph 36 of
 4
           the Complaint, including all subparagraphs thereof.
 5
                   37.        As to Paragraph 37, Defendant denies the allegations contained within Paragraph 37 of
      .
 6
          the Complaint.
 7
                   38.        As to Paragraph 38, Defendant denies the allegations contained within Paragraph 3$ of
 8
          the Complaint.
 9
                  39.         As to Paragraph 39, Defendant repeats and realleges each and every response to
10
          paragraphs 1 through 38, inclusive, of the Complaint with the same force and effect as if set forth at
11
          length herein.
12
                  40.      Defendant denies the allegations contained within Paragraph 40 ofthe Complaint,
13 E
          including all subparagraphs thereof.
14
                  41.      As to Paragraph 41, Defendant denies the allegations contained within Paragraph 41 of
15
          the Complaint.
16
                  42.      As to Paragraph 42, Defendant denies the allegations contained within Paragraph 42 of
17
          ~' the Complaint.
18
                  $3.      As to Para~ranh 43_ Defendant denies the alle~ati~ns contained within Para¢ra»h 4~ of
19
          the Complaint.
20
                  44.      As to Paragraph 44, this paragraph contains statements of purported law or legal
21
          conclusions far which no response is required. To the extent a response is required, Defendant denies
22
          the allegations the same.
23
      i           45.      As to Paragraph 45, this paragraph contains statements of purported law or legal
24
          conclusions for which no response is required. To the extent a response is required, Defendant denies
25
          the allegations the same.
26 .

27

28

                                                              -5-
                               DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
            Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 6 of 13
  1
                   46.     As to Paragraph 46, this paragraph contains statements of purported law or legal
  2
           conclusions for which no response is required. To the extent a response is required, Defendant denies
  3
       'the allegations the same.
  4
                   47.     As to Paragraph 47, this paragraph contains statements of purported law or legal
 5
           conclusions for which no response is required. To the extent a response is required, Defendant denies
 6
           the allegations the same.
 7
                   48.     Answering the "PRAYER FOR RELIEF" beginning with "WHEREFORE",including
 8
           the subparts, Defendant denies each and every allegation contained therein and specifically denies that
 9
           Plaintiff and the putative class members are entitled to any relief.
14
                                                AFFIl~1VIATIVE DEFENSES
11
       ~           Pursuant to Federal Rule of Civil Procedure 8(c), Defendant sets forth the following matters.
12
           constituting an avoidance or affirmative defense:
13'
                                             FIlZ~T AFFIRMATIVE DEFENSE
14
                  Defendant alleges that Plaintiff's claims are barred in whole or in part because:Plaintiff lacks
15
           Article III standing, prudential standing, and statutory standing to bring the claims that he is
16
           purportedly asserting.
17
                                           SECOND AI+'FIRMATIVE DEFENSE
18
                  Defendant alleges that Plaintiff's claims are barred in whole or in part because Plaintiff's
19
           Complaint fails to state a claim upon which relief may be granted.
2Q
                                            TI-IIRI) AFFIRMATIVE DEFENSE
21
                  Defendant alleges that Plaintiff's claims are barred in whole or in part because Plaintiff has not
22 I
       suffered a concrete and particularized injury.
23
                                           FOUI~TI-~ AFFIRMATIVE DEFENSE
24
                  Defendant alleges that Plaintiff's claims are barred by the statutory defense of prior express
25
       consent and/or prior express written consent. To the extent that Plaintiff received the alleged subject
26
       text messages) and/or telephone calls) alleged in the Complaint, prior express consent, as we11 as
27
       prior express written consent, was obtained for the purpose of contacting the phone number.at which


                                                              -6-
                            DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT.
       Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 7 of 13
 1
      Plaintiff alleges to have received the subject text messages) and/or telephone call(s). Accordingly,
 2
      Plaintiff's claims must fail. Ta the extent that putative class members provided such consent, their
 3
     I~ claims also fail.
 4
                                          FIFTH AFFIRMATIVE DEFENSE
 5
               Defendant incorporates by reference all provisions set for within 47 U.S.C. § 227 and 47 C.F.R.
 6
      § 64.1200(including prior versions of this statute and regulation) and relies herein on any safe harbor
 7
      provisions, exemptions, exceptions, limitations, conditions, reasonable reliance, good faith, established

      business relationship, or other defenses that may be set forth herein.
 9
                                          SIXTH AF'FIIZMATIVE DEFENSE
10
              Defendant alleges that Plaintiff cannot maintain this action as a class action under Federal
11
      Rules of Civil Procedure, Rule 23, Among other things, Defendant expressly denies.that the identities
12
      ofthe putative class members are ascez-tainable, that there are common questions of law and fact, that
13
      such questions predominate over individual issues, that the Plaintiff's claims are typical, or that the
14
     individualized issues raised by Plaintiff's claims can be adjudicated on a class-wide basis.
15
                                        SEVEI~ITI~ AI+FIRIVIATIVE DEFENSE
16
              Defendant alleges that Plaintiff cannot maintain this action as a class action under Rule 23 of
17
     'the Federal Rules of Civil Procedure because a class action is not superior to other available methods
18
     for fairly and efficiently adjudicating the controversy.
19
                                        EIGHTH AFFIItliVIA'I'IVE DEFENSES
20
              Defendant alleges that Plaintiff cannot maintain this action as a class action as Plaintiff, a user
21
     on his behalf, or a user in possession. of his telephone number explicitly agreed to be bound by a class
22
     action waiver provision contemporaneous with the respective provisions of express written consent to
23
     be contacted by Defendant.
24
                                         ~1I~1TH AI+'FITd~!Ir~TIVE DEFENSE
25
              Defendant alleges that it has complied with all applicable statutes and regulations,thereby barring
26
     any and all of Plaintiff's claims.
27
     ////
28

                                                         -7-
                            DEPENDANT SCHOOL ADVISOR,LLC'S ANSWBIZ TO PLAINTIFF'S COMPLAINT
          Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 8 of 13
  1
                                          TEI~TTH AFFIRMATIVE DEFENSE
  2
                Defendant alleges that Plaintiff's claims are barred by the doctrines of estoppel, waiver,
  3
         consent, laches, unclean hands, and other equitable doctrines as a bar to the claims of Plaintiff and the
  4
        ~ putative class members.
  5
                                       ~LEVENTII AFFIRMATIVE DEFENSE
  6
                Defendant alleges that Plaintiff's claims and/or the claims ofthe putative class members are
  71
        barred because any alleged acts or omissions of Defendant giving rise to the alleged claims were the
  8
        result of an innocent mistake and/or bona fide error notwithstanding that Defendant established and
 9
        implemented reasonable practices and procedures to effectively prevent telephone solicitations in
10
        alleged violation of the regulations prescribed by 47 U.S.C. § 227.Defendant acted at all times in a
11
        reasonable manner in connection with the events at issue in this case.
12
                                       TWELFT~I AFFIRMATIVE DEFENSE
13
                To the extent that Plaintiff received the subject text messages) and/or telephone calls) alleged
14
        in the Complaint, an automatic telephone dialing system as that term is defined by 47 U.S.C. § 227,the
15
        ~ implementing regulations promulgated thereunder, the Federal Communications Commission's rulings.
16
        i and/or decisional law interpreting same was not used to place the subject text messages,
17
                                     T~-IIRTEEI~ITI3 AFFIRMATIVE DEFENSE
18
                Defendant alleges that Plaintiff's claims are barred on constitutional grounds because
19
        application ofthe TCPA,as interpreted by the FCC, violates the First Amendment to the United States
2d
        Constitution because such application relies upon content-based restrictions of protected speech. See
21
        Reed v. Totivn ofGilbert, 135 S. Ct. 2218,2227(2015)("Government regulation of speech is content-
22
        based if a law applies to particular speech because ofthe topic discussed or the idea or message
23
        expressed.").
24
                                    FCDURTEEl~"1"II AFFIRMATIVE DEFENSE
25
               Defendant alleges that Plaintiff's claims are barred in whole or in part because the TCPA
26 .'
        violates the First Amendment to the United States Constitution because it is an unconstitutional
27
   I regulation of free speech. See Martin v City ofStruthers, Ohio, 319 U.S. 141 {1943).
28 I



                          DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
        Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 9 of 13
   1
                                     FIFTEENTH AF'F'IRMATIVE DEFENSE
  2
               Defendant alleges that Plaintiff's claims are barred in whole or in part because any loss, injury,
  3
       I or damage incurred by Plaintiff was proximately caused by the acts ofthird parties whom Defendant
  4
        neither controlled nor had the right to control, and was not proximately caused by any acts, omissions
  5
    1 or other conduct of Defendant.
  6'
                                     SIXTEENTI~ AFI~'II~IA~'IVE DEFENSE
  7
               Defendant alleges that Plaintiff's claims are barred in whole or in part because Plaintiff failed
  8
      to mitigate his damages.
  9
                                   SEVENTEElVTI~ AFFIF~MAT'IVE DEFENSE
 10
              Defendant alleges that Plaintiff's claims are barred in whole or in part because any loss, injury,
 11
    ~ or damage incurred by Plaintiff was caused by independent contractors for whose actions Defendant is
 12
      not directly nor vicariously liable.
 13
                                   EIGHTEENTH AFFIRMATIVE DEFENSE
 14
              Defendant alleges that Plaintiff's claims are barred in whole or in part because Plaintiff has
 15
     failed to join all necessary andlor indispensable parties to this action.
 16
                                   I`1Ill~E'TEEN'TH AFFIRMATIVE DEFENSE
17
              Defendant alleges that Plaintiff has not suffered any damages due to Defendant's alleged
18
     actions. Plaintiff must sustain an injury in fact specific to each individual text message for which
19
     Plaintiff claims a violation.
20
                                   '~'~El~dTIETi~ AFFIRMATIVE DEFENSE
21
             Defendant alleges that Plaintiff's claims are barred in whole or in part because Plaintiff's
22
    claims and/or the claims of the putative class members are barred by the applicable statute of
23
    limitations.
24
                                 `T~~1`i~~-FI1ZS'I' AFFII~I~IATIVE DEFENSE
25
             Defendant alleges that Plaintiff cannot maintain this action as he explicitly agreed to be bound
26
    by binding arbitration provisions contemporaneous with his provision of express written consent to be
27
    contacted by Defendant and waived his right to bring an action in this Court.
28

                                                        -9-
                        DEFENDANT SCHOOL ADVISOR,LLC'S ANSWER TO PLAINTIFF'S COMPLAINT
          Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 10 of 13
  1
                                    T~VEl~'I'~-SECOND AFFIRMATIVE DEFENSE
  2
                  Defendant alleges that Plaintiff cannot maintain this action as he explicitly agreed to be bound
  3
      i to a limitation and/or release of liability provision contemporaneous with his provision of express
  4
          written consent to be contacted by Defendant.
  5
                                     TWENTY-THIRD AFFIRMATIVE DEFENSE
 6
                  Defendant alleges that Plaintiff's complaint, and every cause of action. alleged therein, is barred
 7
          because Plaintiff's alleged injuries are not within the zone of interest the TCPA is designed to protect
 8
      ~ against.
 9
                                    T'WEl~1TI'-~OIJI~TII AI+'FII2MATIVE DEFENSE
10
                 Defendant alleges that Plaintiff's claims are nor proper before this Court because this Court
11
          lacks personal jurisdiction over Defendant.
12
      ~                              "I"VVEI~tTI'-FIFTH AFFIRMr~TIVE DEFENSE
13
                 Defendant alleges that Plaintiff cannot maintain this action as a class action under Rule 23 of
14    1
      'the Federal Rules of Civil Procedure because a purported class is not so numerous that joinder of all
15
      !class members would be impracticable.
16
                                     7'~EN'I'I'-SIX'T'H AFFIRNIATI~E DEFENSE
17
                 Defendant alleges that Plaintiff cannot maintain this action as a class action under Rule 23 of
18
          the Federal Rules of Civil Procedure because there are no questions of law or fact common to a
19
          purported class.
20
                                   TWENT~'~SEVEl\1T~I AFFIlt1YIr~TIVE DEFENSE
21
                 Defendant alleges that Plaintiff cannot maintain this action as a class action under Rule 23 of
22
      the Federal Rules of Civil Procedure because Plaintiff's claims or defenses are not typical ofthe
23
   i purported class.
24 ~
                                    T'~'EI~1T'Y-EIG~ITI-I AFFIRIYIATIVE DEFENSE
25
                 Defendant alleges that Plaintiff cannot maintain this action as a class action under Rule 23 of
26
      the Federal Rules of Civil Procedure because Plaintiff will not fairly or adequately protect the interests
27
      ofthe class.
28

                                                           -10-
                             DEFENDANTSCHOOL ADVISOR,LLC'S ANSWER'TO PLAINTIFF'S COMPLAINT
      Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 11 of 13
  1
                                      ~'WEIiT'~'Y-1~iINTII AFFIRMATIVE DEFENSE
  2
              Defendant presently has insufficient knowledge of information on which to form a belief as to
  3
       whether Defendant may have additional, as yet unstated, defenses available. Defendant reserves herein
 4
      the right to assert additional defenses in the event discovery indicates that they would be appropriate..
 5
                                                       PIt~YER
 6
              WHERETO           ,Defendant prays as follows:
 7.
              1.      That Plaintifftakes nothing from this answering Defendant by this Complaint;
 8
              2.      That Defendant be awarded judgment in this action;
 9
              3.      For attorneys' fees incurred herein, pursuant to statute if allowable at law;
10
              4.      For costs of suit incurred herein; and
11
              5.      For such other and further relief as the Court deems proper.
12

13 Dated: May 21,2020
                                                     ELLIS LAW GROUP LLP
14

15                                                   By /s/Lawrence K Iglesias
                                                       Lawrence K. Iglesias
16                                                     Attorney for Defendant
                                                       SCHOOLADVISOR,LLC dba
17                                                     DEGREESEARCH.ORG
18

19

2Q
          DEFENDANT SCHOOL ADVISOR,LLC dba DEGREESEARCH ORG hereby demands a trial
21
      by jury in this matter.
22

23 , Dated: May 21, 2020
   i                                                 ELLIS LAW GROUP LLP
24 ~

25                                                   By Is~LawNence K. Iglesias
                                                       Lawrence K. Iglesias
26                                                     Attorney for Defendant
                                                       SCHOOLADVISOR,LLC DBA
27                                                     DEGREESEARCH.ORG
28

                                                         -11-
                        DEFENDANT SCHOOL ADVISOR, LLC'S ANSWER TO PLAINTIFF'S COMPLAITIT
      Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 12 of 13
 1
                                         CERTIFICATE OF SERVICE
 2
              I, Jan Hyde, declare:
 3
             I am a citizen of the United States, am over the age of eighteen years, and am not a party to or
 4
      interested in the within entitled cause. My business address is 1425 River Park Drive, Suite 400,
 5'
      Sacramento, CA 95815.
 6
             On May 21,2020, I served the following documents)on the parties in the within action:
 7
           DEFENDANT SCHOOL ADVISOR,LLC'S ANS~VEIZ TO PLAINTIFF'S COMPLAINT
 8

 9               VIA Eg.ECTI~OI~TIC ~EI~VICE: The above-described documents) will be delivered
         ~       electronically through the Court's ECF/PACER electronic filing system, as stipulated by
10               all parties to constitute personal service, to the following;

11               ~Y MAID: I am familiar with the business practice for collection and processing of mail
                 The above-described documents) will be enclosed in a sealed envelope, with first class
12               postage thereon fully prepaid, and deposited with the United States Postal Service at
                 Sacramento, CA on this date, addressed as follows:
13               ~Y HAl`TI3: The above-described documents) will be placed in a sealed envelope which
                 will be hand-delivered on this same date by                                   ,addressed as
14               follows:
                 VIA. Fr~CSIMII,E: The above-described documents) was transmitted via facsimile from
15               the fax number shown on the attached facsimile report, at the time shown on the attached
                 facsimile report, and the attached facsimile report reported no error in transmission and
16               was properly issued from the transmitting facsimile machine, and a copy of same was
                 mailed, on this same date to the followin
17               CIA OVE~NI~~IT SERVICE: The above-described documents) will be delivered by
                 overni ht service, to the followin
18

19    Richard.T. Drury                                     Attorneys for Plaintiff
      Rebecca Davis                                        EDWARDO MLTNOZ
20
      Lozeau Drury LLP
21    1939 Harrison Street
      Suite 150
22    Oakland, CA 94612

23    Patrick H. Peluso                                    Attorneys for Plaintiff
      Taylor T. Smith                                      EDWARDO MIJNOZ
24
      W000draw &Peluso, LLC
25    3900 East Mexico Avenue
      Suite 300
26    Denver, CO 8Q210

27

28           I declare under penalty of perjury under the laws of the United States of America that the
                                                     -1-
                                                PROOF OF SERVICE
          Case 1:20-cv-00440-NONE-EPG Document 12 Filed 05/21/20 Page 13 of 13
  1
          foregoing is a true and correct statement and that this Certificate was executed on May 21, 2020.
 2

 3                                                    By.
                                                        Jan
 4

 S

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 7

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                                                    PROOF OF SERVICE
